         Case 1:18-cr-00032-DLF Document 73 Filed 11/15/18 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

        v.
                                                    Criminal Action No. 18-cr-32-2 (DLF)
 CONCORD MANAGEMENT &
 CONSULTING LLC,

                Defendant.


                                           ORDER

       For the reasons stated in the accompanying memorandum opinion, it is

       ORDERED that Concord Management and Consulting LLC’s Motion to Dismiss the

Indictment, Dkt. 46, is DENIED. It is further

       ORDERED that the parties shall propose a schedule for further proceedings and for

briefing on any outstanding discovery issues on or before November 28, 2018.

       SO ORDERED.


                                                          ________________________
                                                          DABNEY L. FRIEDRICH
                                                          United States District Judge
Date: November 15, 2018
